Case 5:20-cv-00217-JSM-PRL Document 22 Filed 12/23/20 Page 1 of 9 PageID 61




                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA

   BELEN GUTIERREZ,                                 )
                                                    )
                    Plaintiff,                      )
                                                    )
   v.                                               )
                                                    )    Case No. 5:20-cv-00217-JSM-PRL
   LAKESHORE MANOR, LLC., a Florida                 )
   Limited Liability Company,                       )
                                                    )
                    Defendants.                     )
                                                    )


                                    CASE MANAGEMENT REPORT

         1.     Meeting of Parties: Pursuant to Local Rule 3.05(c)(2)(B) or (c)(3)(A), a meeting
  was held on December 15, 2020 at 11:00 A.M. (X) by telephone and was attended by:

                      Name                                        Counsel for

  Alexander T. Harne, Esquire                     For Plaintiff Belen Gutierrez


  Jesse I. Unruh, Esquire                         For Defendant Lakeshore Manor, LLC



           2.      Initial Disclosures:

                a. Fed. R. Civ. P. 26(a)(1) as amended December 1, 2000 provides that "[e]xcept in
        categories of proceedings specified in Rule 26(a)(1)(E), or to the extent otherwise stipulated or
        directed by order, a party must, without awaiting a discovery request, provide to other parties:
        (A) the name and, if known, the address and telephone number of each individual likely to have
        discoverable information that the disclosing party may use to support its claims or defenses,
        unless solely for impeachment, identifying the subjects of the information; (B) a copy of, or a
        description by category and location of, all documents, data compilations, and tangible things that
        are in the possession, custody, or control of the party and that the disclosing party may use to
        support its claims or defenses, unless solely for impeachment; (C) a computation of any category
        of damages claimed by the disclosing party, making available for inspection and copying as under
                                                   1
Case 5:20-cv-00217-JSM-PRL Document 22 Filed 12/23/20 Page 2 of 9 PageID 62




         Rule 34 the documents or other evidentiary material, not privileged or protected from disclosure,
         on which such computation is based, including materials bearing on the nature and extent of
         injuries suffered; and (D) for inspection and copying as under Rule 34 any insurance agreement
         under which any person carrying on an insurance business may be liable to satisfy part or all of a
         judgment which may be entered in the action or to indemnify or reimburse for payments made to
         satisfy the judgment." Fed. R. Civ. P.26(a)(1). 1

         The parties (check one)

         ___X___             have exchanged information referenced by Fed. R. Civ. P. 26(a)(1)(A)-(D) or
                             agree to exchange such information on or before January 19, 2021. 2

         _______             stipulate to not disclose information referenced by Fed. R. Civ. P. 26(a)(1)(A)-(D)
                             for the specific reason(s) that:
                             _________________________________________________________________
                             _________________________________________________________________
                             __________________________________________________

         _______             have been unable to reach agreement on whether to disclose information
                             referenced by Fed. R. Civ. P. 26(a)(1)(A)-(D). (Identify party or parties)
                             __________________________ objects to disclosure of such information for the
                             specific reason(s) that:
                             _________________________________________________________________
                             _________________________________________________________________
                             __________________________________________________




         3.        Discovery Plan - Plaintiff: The parties jointly propose the following Plaintiff's discovery

         1
            A party must make its initial disclosures based on the information then reasonably available to it and is not
excused from making its disclosures because it has not fully completed its investigation of the case or because it challenges
the sufficiency of another party's disclosures or because another party has not made its disclosures. See Fed. R. Civ. P.
26(a)(1).

         2
             Information referenced by Fed. R. Civ. P. 26(a)(1)(A)-(D) must be made "at or within 14 days of the Rule 26(f)
conference unless a different time is set by stipulation or court order, or unless a party objects during the conference that
initial disclosures are not appropriate in the circumstances of the action and states the objection in the Rule 26(f) discovery
plan." Fed. R. Civ. P. 26(a)(1). Any party first served or otherwise joined after the Rule 26(f) conference must make these
disclosures within 30 days after being served or joined unless a different time is set by stipulation or court order. See Fed.
R. Civ. P. 26(a)(1).

                                                              4
Case 5:20-cv-00217-JSM-PRL Document 22 Filed 12/23/20 Page 3 of 9 PageID 63




       plan:

               a. Plaintiff's Planned Discovery: A description of every discovery effort Plaintiff plans to
                   pursue is described below. The description of each discovery effort will be listed
                   under the appropriate heading below and will include the subject matter of the
                   discovery and the time during which the discovery will be pursued:

                      (1) Requests for Admission:

       Plaintiff intends to serve requests for admissions.

               Number of Requests for Admission: Parties may seek to limit the number of Plaintiff's
               requests for admission in accordance with Fed. R. Civ. P. 26(b)(2). Any such request must
               be made in paragraph 6 below and approved by the court.

                      (2) Written Interrogatories:

       Plaintiff intends to serve written interrogatories on Defendant.

               Number of Interrogatories: Local Rule 3.03(a) provides "[u]nless otherwise permitted by
               the Court for cause shown, no party shall serve upon any other party, at one time or
               cumulatively, more than twenty-five (25) written interrogatories pursuant to Rule 33,
               Fed.R.Civ.P., including all parts and subparts." Any request by Plaintiff to exceed this
               limit must be made in paragraph 6 below and approved by the court.

                      (3) Requests for Production or Inspection:

      The Plaintiff will comply with the applicable Federal and Local Rules governing document
requests. Plaintiff will seek production or inspection for all discoverable matters related to the
complaint, employment relationship of the parties, and defenses in this matter.

                      (4) Oral Depositions:

       Plaintiff intends to depose the corporate representative of Defendant as well as relevant
witnesses.

                      Number of Depositions: Local Rule 3.02(b) provides, "[i]n accordance with Fed.
                      R. Civ. P. 30(a)(2)(A) and 31(a)(2)(A), no more than ten depositions per side
                      may be taken in any case unless otherwise ordered by the Court." Any request
                      by Plaintiff to exceed this limit must be made in paragraph 6 below and approved
                      by the court.


                                                 5
Case 5:20-cv-00217-JSM-PRL Document 22 Filed 12/23/20 Page 4 of 9 PageID 64




                  Time Permitted for Each Deposition: Each deposition is limited to one day of
                  seven hours in accordance with Fed. R. Civ. P. 30(d)(2) unless extended by
                  agreement of the parties or order of Court.

                  The parties stipulate/request a court order to extend the time to take the
                  deposition of the following individuals:

                                          Proposed length
           Name                            of Deposition                        Grounds

           Not applicable at this time.


           b. Disclosure of Expert Testimony: Parties stipulate, in accordance with Fed. R. Civ. P.
           26(a)(2)(C), that Plaintiff's Fed. R. Civ. P. 26(a)(2) disclosure will be due as noted here:

               November 5, 2021


           c. Supplementation of Disclosures and Responses: Parties agree that Plaintiff's
           supplementation under Fed. R. Civ. P. 26(e) will be provided at the following times:

                Within thirty (30) days of learning of such supplementation.


           d. Completion of Discovery: Plaintiff will commence all discovery in time for it to be
           completed on or before January 7, 2022.


     4.     Discovery Plan - Defendant: The parties jointly propose the following Defendant's
     discovery plan:

           a. Defendant's Planned Discovery: A description of every discovery effort Defendant
              plans to pursue is described below. The description of each discovery effort will be
              listed under the appropriate heading below and will include the subject matter of the
              discovery and the time during which the discovery will be pursued:

                  (1) Requests for Admission:

     Defendant intends to serve requests for admissions.

           Number of Requests for Admission: Parties may seek to limit the number of Defendant's
           requests for admission in accordance with Fed. R. Civ. P. 26(b)(2). Any such request must
           be made in paragraph 6 below and approved by the court.

                  (2) Written Interrogatories:
                                                 6
Case 5:20-cv-00217-JSM-PRL Document 22 Filed 12/23/20 Page 5 of 9 PageID 65




      Defendant intends to serve written interrogatories on Plaintiff.

             Number of Interrogatories: Local Rule 3.03(a) provides "[u]nless otherwise permitted by
             the Court for cause shown, no party shall serve upon any other party, at one time or
             cumulatively, more than twenty-five (25) written interrogatories pursuant to Rule 33,
             Fed.R.Civ.P., including all parts and subparts." Any request by Defendant to exceed this
             limit must be made in paragraph 6 below and approved by the court.

                    (3) Requests for Production or Inspection:

       The Defendant will comply with the applicable Federal and Local Rules governing
document requests. Defendant will seek production or inspection for all discoverable matters
related to the complaint, employment relationship of the parties, damages, and defenses in this
matter.

                    (4) Oral Depositions:

      Defendant intends to take the deposition of Plaintiff and additional witnesses.

             Number of Depositions: Local Rule 3.02(b) provides, "[i]n accordance with Fed. R. Civ.
             P. 30(a)(2)(A) and 31(a)(2)(A), no more than ten depositions per side may be taken in any
             case unless otherwise ordered by the Court." Any request by Defendant to exceed this
             limit must be made in paragraph 6 below and approved by the court.

             Time Permitted for Each Deposition: Each deposition is limited to one day of seven hours
             in accordance with Fed. R. Civ. P. 30(d)(2) unless extended by agreement of the parties
             or order of Court.

             The parties stipulate/request a court order to extend the time to take the deposition of the
             following individuals:


                                            Proposed length
             Name                            of Deposition                        Grounds

             Not applicable at this time.


             b. Disclosure of Expert Testimony: Parties stipulate, in accordance with Fed. R. Civ. P.
             26(a)(2)(C), that Defendant's Fed. R. Civ. P. 26(a)(2) disclosure will be due as noted here:

             December 8, 2021

             c. Supplementation of Disclosures and Responses: Parties agree that Defendant's
             supplementation under Fed. R. Civ. P. 26(e) will be provided at the following times:
                                                  7
Case 5:20-cv-00217-JSM-PRL Document 22 Filed 12/23/20 Page 6 of 9 PageID 66




             Within thirty (30) days of learning of such supplementation.


             d. Completion of Discovery: Defendant will commence all discovery in time for it to
             be completed on or before January 7, 2022.


     5.      Joint Discovery Plan - Other Matters: Parties agree on the following other matters relating
     to discovery (e.g., handling of confidential information, assertion of privileges, whether discovery
     should be conducted in phases or be limited to or focused upon particular issues):

     No other agreements at this time.

     6.     Disagreement or Unresolved Issues Concerning Discovery Matters: Any disagreement or
     unresolved issue will not excuse the establishment of discovery completion dates. The parties are
     unable to agree as to the following issues concerning discovery:

     None at this time.

     7.      Third Party Claims, Joinder of Parties, Potentially Dispositive Motions: Parties agree that
     the final date for filing:

             a. motions for leave to file third party claims and/or motions to join parties should be
             March 5, 2021.

             b. motions for summary judgment and all other potentially dispositive motions should be
             February 11, 2022. (Note time limit in Local Rule 4.03.)

     8. Settlement and Alternative Dispute Resolution: Pursuant to Local Rule 3.05(c)(2)(C)(v), the
     parties submit the following statement concerning their intent regarding Alternative Dispute
     Resolution:

     Parties agree that settlement is
         likely               (check one)
      X unlikely.

     Parties agree to consent to binding arbitration pursuant to Local Rules 8.02(a)(3) and 8.05(b).

             yes            X no            likely to agree in future

     If binding arbitration is not agreed to, the court may order nonbinding arbitration pursuant to
     Chapter Eight of the Local Rules of the Middle District of Florida, mediation pursuant to Chapter
     Nine of the Local Rules of the Middle District of Florida, or both.

     9.   Consent to Magistrate Judge Jurisdiction: The parties agree to consent to the jurisdiction of
                                                  8
Case 5:20-cv-00217-JSM-PRL Document 22 Filed 12/23/20 Page 7 of 9 PageID 67




       the United States Magistrate Judge for final disposition, including trial. See 28 U.S.C. § 636.

              yes              X no           likely to agree in future

       10.    Preliminary Pretrial Conference:

       Track Two Cases: Parties
           request (check one)
        X do not request

       a preliminary pretrial conference before entry of a Case Management and Scheduling Order in
       this Track Two case. Unresolved issues to be addressed at such a conference include:

       11.    Final Pretrial Conference and Trial: Parties agree that they will be ready for a final pretrial
       conference on or after April 18, 2022 and for trial on or after May 16, 2022. This Jury X Non-
       Jury     trial is expected to take approximately 2 – 3 days.

       12.     Pretrial Disclosures and Final Pretrial Procedures: Parties acknowledge that they are
       aware of and will comply with pretrial disclosures requirements in Fed. R. Civ. P. 26(a)(3) and
       final pretrial procedures requirements in Local Rule 3.06.

       13.    Other Matters:

       Mediation will be set prior to January 21, 2022.

Dated this 23rd day of December, 2020.




 /s/ Jesse I. Unruh                                 /s/ Alexander T. Harne
 Jesse I. Unruh, Esq.                               Alexander T. Harne, Esq.
 Florida Bar No. 91121                              Florida Bar No. 126932
 Spire Law, LLC                                     RICHARD CELLER LEGAL, P.A.
 2752 W. State Road 426, Suite 2088                 10368 W. State Rd 84, Suite 103
 Oviedo, Florida 32765                              Davie, Florida 33324
 Telephone: (407) 494-0135                          Telephone: (866) 344-9243
 E-Mail: jesse@spirelawfirm.com                     Facsimile: (954) 337-2771
 lauren@spirelawfirm.com                            E-mail:
 Attorneys for Defendants                           aharne@floridaovertimelawyer.com




                                                     9
Case 5:20-cv-00217-JSM-PRL Document 22 Filed 12/23/20 Page 8 of 9 PageID 68




                                   CERTIFICATE OF SERVICE

       I hereby Certify that on this 23rd day of December, 2020., the foregoing was electronically filed

with the Court by using the Middle District of Florida’s CM/ECF portal, which will send a notice of

electronic   filing   to:   Noah   E.   Storch,   Esquire    and    Alexander    Harne,    Esquire    at

noah@floridaovertimelawyer.com;                                      john@floridaovertimelawyer.com;

aharne@floridaovertimelawyer.com at RICHARD CELLER LEGAL, P.A., 10368 West State Road 84,

Suite 103, Davie, FL 33324.

                                                    /s/ Jesse I. Unruh
                                                    Attorney




                                                  10
Case 5:20-cv-00217-JSM-PRL Document 22 Filed 12/23/20 Page 9 of 9 PageID 69
